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                     Exhibit I
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                                             MEMORANDUM


 TO:                      Subcommittee on State, Foreign Operations, and Related Programs,
                          Committee on Appropriations

 FROM:                    USADF Board of Directors

 DATE:                    March 03, 2025

 Re:                      Update and appointment of USADF President

USADF sincerely appreciates the recent guidance from congressional leaders regarding the importance of
complying with the law and the USADF statutory requirements. As discussed in the letter that Members of
Congress recently sent to President Trump, USADF understands that the Agency’s existing functions are not
discretionary but legally required by Congress and cannot be overridden by executive order. The USADF
statute requires the Foundation to carry out specific purposes as articulated in 22 U.S.C. § 290h–2(a), and
Congress appropriated funds at a level necessary to meet these statutory mandates, which includes
supporting staffing and award mechanisms. We are incorporating this guidance in our response to the
Executive Order that directs USADF to eliminate all “non-statutory components and functions” and “reduce
the performance of their statutory functions and associated personnel to the minimum presence and function
required by law.”

Update since USADF Board memo:
On February 28, 2025, USADF received a notification from Mr. Trent Morse, Deputy Director at the Office
of Presidential Personnel, stating that Mr. Peter Marocco has been temporarily appointed as acting chairman
and board member of USADF. Mr. Morse further explained that because there are no mechanisms in the
USADF Act that allow the President to designate acting officials, and because USADF board member
positions are exempt from being filled through the Federal Vacancies Reform Act of 1998, President Trump
is “using his inherent authority under Article II” of the U.S. Constitution to appoint Mr. Marocco to this
position.
We believe this is a misinterpretation since under Article II, the President’s power to appoint is
subject to the advice and consent of the Senate, subject only to the ability to make recess vacancies.
In this case, Congress has specifically reserved for themselves the right to confirm USADF board
members as evidence by the statutory language “The management of the Foundation shall be vested
in a board of directors (hereafter in this subchapter referred to as the "Board") composed of seven
members appointed by the President, by and with the advice and consent of the Senate.”
Additionally, the Act explains that once a board member’s term is expired “a member shall
continue to serve until a successor is appointed and shall have qualified.” See 22 U.S.C. 290h-5(a).
Thus, the only path that would allow the President to legally, although temporarily, fill a USADF
board member seat is during a Senate recess, which is not the case at present. USADF has since
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responded that the Agency cannot recognize Mr. Marocco’s authority to act legally as Chairman of
the USADF Board. The appointment of Mr. Marocco by the President to the Board of USADF must
be delivered to the Senate for confirmation. As with all nominees in the past, the Agency stands
ready to assist in that transmittal. Until Mr. Marocco is confirmed by the Senate, the Agency cannot
recognize his authority to act legally as Chairman of the USADF board. However, we did confirm
that the Agency intends to comply with all Executive Orders, including the EO issued on February
19, 2025.
Board appointment of the USADF President
Through this memo, we would like to inform you that the Board has appointed a new USADF
President, Mr Ward Brehm. Mr. Brehm is an entrepreneur and public servant, engaged in African
humanitarian efforts and public speaking on African relief and development. Mr. Brehm served as
Chairman of the Board of USADF from 2004-2008. In 2008, he was the keynote speaker at the
2008 National Prayer Breakfast -- the first person from the business community to do so. He was
awarded the Presidential Citizenship Medal by President George W. Bush for his work in Africa.
